      Case 1:24-cv-00313-MJT Document 10-1 Filed 09/03/24 Page 1 of 18 PageID #: 169

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        1                                 UNITED STATES DISTRICT COURT
                                           EASTERN DISTRICT OF TEXAS
                                                      BEAUMONT DIVISION



                    Peter Harris and Loni Harris,


                                     Plaintiffs,                     Case No. 1:24-cv-00313


                            v.


                    Upwintrade.com, a business                       Declaration of
                    association; David Shamlian, an                  Loni Harris
                    individual; John Does 1 – 20,


                                     Defendants.



                           I, Loni Harris, state and swear as follows.

                           I.       Introduction

                           1.       My name is Loni Harris. I am of sound mind and capable of

                  making this Affidavit. I have personal knowledge of the facts stated herein.

                           2.       I am one of the plaintiffs in this matter, along with my husband,

                  Peter Harris. I am submitting this Declaration in support of our Motion for

                  Preliminary Injunction.

                           II.      Chronology & Evidence

                           3.       My first contact with the Upwintrade scam was through

                  Facebook. An account that appeared to be operated by Orlando Bell, someone

                  I know personally, made a Facebook post about how he had purchased a new


                                                               -1-
      Case 1:24-cv-00313-MJT Document 10-1 Filed 09/03/24 Page 2 of 18 PageID #: 170

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                  home with the money he had made doing cryptocurrency trading with

                  someone named David Shamlian.

                           4.       I sent a direct message to the Orlando Bell account inquiring

                  about the cryptocurrency trading success alluded to in the post. This person

                  advised me to message David Shamlian on Skype. This person also reassured

                  me about David’s legitimacy through the following events. A true and correct

                  copy of my direct messages with this account is attached as Attachment A.

                           5.       I later confirmed with the real Orlando Bell that his Facebook

                  account had been hacked and taken over by unknown persons before the date

                  of the post and messages described above. A true and correct copy of my

                  messages with the real Orlando Bell is attached as Attachment B.

                           6.       My husband and I soon messaged David Shamlian on Skype.

                  David advised us to create an account at www.upwintrade.com. We

                  transferred cryptocurrency with a dollar-denominated value of $654,609.84

                  to blockchain addresses provided by Upwintrade before ultimately realizing

                  that we had been scammed.

                           7.       My husband’s Declaration in support of our Motion for

                  Preliminary injunction provides and verifies our transaction history, our

                  messages with David Shamlian, emails we received from Upwintrade, and

                  screenshots of the Upwintrade platform. I have reviewed my husband’s

                  Declaration and the attached materials and verify that those attachments are

                  true and correct copies of what they purport to be.



                                                               -2-
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                           8.       The Defendants’ scam has devastated our family financially.

                  Our savings are depleted, and we now face an uncertain financial future. We

                  are pursuing this litigation and cooperating with law enforcement in the

                  hopes that some of the assets controlled by the Upwintrade scammers might

                  be preserved for our eventual recovery.

                                                  [SIGNATURE PAGE FOLLOWS]




                                                               -3-
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                                                          VERIFICATION

                           I, Loni Harris, hereby verify and declare under penalty of perjury

                  that the foregoing is true and correct.




                                                                     __________________________
                                                                     Loni Harris


                                                                     Dated: 9/1/2024




                                                               -4-
      Case 1:24-cv-00313-MJT Document 10-1 Filed 09/03/24 Page 5 of 18 PageID #: 173
Attachment A - Fake Orlando Bell Profile & Messages
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                                     Orlando Bell                                                                                 HM•Mi         O Message




           Posts     About        Friends   Photos   Videos      Reels      More•




           Intro                                                               Posts                                                                  :2.: Filters

           !! Agency Owner at Orlando Bell Insurance Agency
                                                                                    Orlando Bell is at Destiny Christian Fellowship.
           ft Lives in San Francisco, California                                    January 7 • Fremont, CA • 0

           Q From San Francisco, California
           � Followed by 604 people




           Photos                                          See all photos




                                                                                                                                                                      I
                                                                                    l\   RELIGIOUS CENTER


                   Orlando Bell

                                                                               009                                                                    1 comment

           Intro                                                                                                                       A C::h::aro




                                                                                                                                                            HAR0001
      Case 1:24-cv-00313-MJT Document 10-1 Filed 09/03/24 Page 6 of 18 PageID #: 174

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           Orlando Bell
           Generated by Loni M Harris on Thursday, June 6, 2024 at 12:20 PM UTC-07:00
           Contains data you requested from June 6, 2023 at 6:22 AM to June 5, 2024 at 12:11 PM


    Loni M Harris



             0:02 / 2:13


    May 10, 2024 5:00:43pm


    Loni M Harris

    Orlando missed your call.
    May 10, 2024 3:59:59pm


    Loni M Harris

    On another note how’s your project coming along?
    May 09, 2024 6:08:33pm


    Loni M Harris

    Thanks for getting back to me. I really do appreciate it.

    There was deﬁnitely a learning curve doing our ﬁrst trade I think we’re starting to understand the process

    I know we were Just talking about how people are so dishonest. Its awful!! It’s happen to our business too so i
    understand
    May 09, 2024 6:08:09pm


    Orlando Bell

    I usually pay him 15% upfront from my pocket, he said they were scammed multiple times, people withdrew an
    not pay commission. They even block him. I don’t know why people will be so greedy to do that to him and his
    after making money for them.
    David is a really awesome person, he works with a bunch of traders which can make it difﬁcult for him to appro
    your withdrawal without his team. Once you understand the whole process, you won't have to worry about a th
    May 09, 2024 5:58:13pm


    Loni M Harris

    I am sorry I keep bugging you. We are on a time crunch.




                                                                                                        HAR0002
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    May 06, 2024 8:54:16pm

    Loni M Harris

    David ﬁnished the trades. He said he won't approve the withdraw unless we pay him. He doesnt want to get
    scammed, which is understandable. I was under the impression that we could use the money from the withdraw
    because who has that kind of money laying around lol. And I didn't know we'd have to come up with another la
    sum of money to pay David in addition to the money we already invest with him. This is why I was curious how
    you able to pay him BTC on your ﬁrst withdrawal? Or am I not understanding this whole thing? Is there someth
    am missing?
    May 06, 2024 8:53:14pm

    Loni M Harris

    How did you get access to BTC to pay David if David has to approve your wallet. I am sorry i am just confused
    May 06, 2024 5:42:45pm


    Loni M Harris

    We want to pay him but I don't know how lol
    May 06, 2024 4:28:01pm


    Loni M Harris

    Could you explain step by step what you did to pay David? I am a bit confused lol
    May 06, 2024 4:26:18pm


    Loni M Harris

    Wait so you paid David BTC from your wallet? So thats what you mean by upfront?
    May 06, 2024 4:25:48pm


    Orlando Bell

    What do you mean by a different username?
    May 06, 2024 4:15:40pm

    Orlando Bell

    Withdrawal only goes to one account, so they are scared you might run away with funds if they let you withdraw
    funds before paying them
    May 06, 2024 4:15:22pm




                                                                                                     HAR0003
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    Orlando Bell

    It’s come out of my pocket. I pay him via Btc.
    May 06, 2024 4:15:08pm

    Loni M Harris

    Also did you have to use a different user name to pay David?
    May 06, 2024 4:02:12pm

    Loni M Harris

    We are trying to understand how this works.
    May 06, 2024 3:28:27pm


    Loni M Harris

    And how do you pay once he approves?
    May 06, 2024 3:28:13pm


    Loni M Harris

    No Problem. Thanks for taking the time to answer. When you say, upfront fee does that come out of the withdra
    or you have to come out of pocket?
    May 06, 2024 3:27:32pm


    Orlando Bell

    Hey Loni, I apologize for the delay in responding. I'm constantly swamped with work and hardly have any time
    myself. There's this project I'm currently working on that's consuming most of my time. The only instance when
    withdrawal was delayed was the very ﬁrst time, and that was because it happened over the weekend. But ever
    other time, it went smoothly without any delays. Whenever I want to withdraw, he asks for a 15% upfront fee, w
    pay, and then he approves the withdrawal.
    May 06, 2024 3:21:53pm


    Loni M Harris

    David ask me to ask you about how the process works to withdraw. Would you mind providing some input? Did
    pay upfront or pay him through upwin?
    May 05, 2024 8:08:32pm

    Loni M Harris




                                                                                                      HAR0004
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    Hey Orlando
    Can I call you. I have a quick question.
    May 04, 2024 11:10:09am

    Loni M Harris

    Orlando missed your call.
    May 04, 2024 11:10:05am

    Loni M Harris

    Hey Orlando. Sorry to keep bothering you. Quick question How did your ﬁrst withdraw go? Were there any dela
    May 03, 2024 8:57:39am


    Orlando Bell

    Yes
    Apr 24, 2024 7:20:10am


    Loni M Harris

    Also wanted to say that was very thought of you to gift him a very nice watch!
    Apr 16, 2024 12:59:07pm


    Loni M Harris



             0:00 / 2:03


    Apr 16, 2024 12:54:11pm

    Orlando Bell



             0:00 / 0:36


    Apr 16, 2024 12:45:12pm


    Loni M Harris

    Also I was really curious, how did your meeting with David go last month?
    Apr 15, 2024 8:42:14pm




                                                                                                   HAR0005
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    Loni M Harris

    Hey Orlando. Do you have any idea why David changed his name to Brad Hill?
    Apr 15, 2024 3:19:50pm

    Loni M Harris

    Thanks. We have 2 accounts too. Chase is one of the worse to transfer funds. I believe banks don’t want anyo
    move to Bitcoin because they can’t control it. The dollar is ﬁat money and it’s all controlled.
    Anyway thanks for your help. We got it worked out. Chase has been giving us a hard time

    By the way, did you have a hard time withdrawing? Was it pretty simple?
    Apr 12, 2024 6:52:54am


    Orlando Bell

    Sure, right now I actually have 2 accounts on kraken and 2 accounts on crypto.com. I had someone help me o
    them, you know, just in case I run into any issues with one of them, I can easily switch to the others. It's quite
    interesting how the banks are really trying to resist this whole thing.
    Over 80 million users buy, sell, and trade Bitcoin, Ethereum, NFTs and more on Crypto.com. Join the World's le
    crypto trading platform.
    https://crypto.com/
    Apr 12, 2024 6:43:16am

    Loni M Harris

    Hey Orlando. Are you still having issues wiring funds to Crypto? We have nothing but problems. Then we open
    Krakken and it’s even worse. How are you able to wire without it getting rejected? What bank do you use? I ma
    a different bank. This is very Frustrating!
    Apr 09, 2024 3:56:44pm


    Orlando Bell

    Hey Loni!
    So, if your bank is canceling the transaction, I don't think it's crypto.com's fault. It's probably an issue with your
    But you could also give kraken a try. I mean, they're all pretty much the same, right?
    Over 80 million users buy, sell, and trade Bitcoin, Ethereum, NFTs and more on Crypto.com. Join the World's le
    crypto trading platform.
    https://crypto.com/
    Mar 19, 2024 5:54:54am

    Loni M Harris

    It’s frustrating when we transfer. Banks keep cancelling it.
    Mar 18, 2024 8:09:19pm



                                                                                                            HAR0006
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    Loni M Harris

    Hey Orlando. Do you use Crypto .com or Kraken?
    Mar 18, 2024 8:08:44pm


    Loni M Harris

    I know! It’s so incredible to see this! We have to transfer smaller amounts like everyone other day so it would g
    through. Just yesterday the bank stopped the transfer again but we had to call and say it was us.
    Mar 08, 2024 2:48:24pm

    Orlando Bell

    I told you he is absolutely amazing at what he does. I mean, his prediction last year about crypto hitting 70-80k
    now... It's just mind-blowing how accurate he was! I have to admit, I was a bit skeptical at ﬁrst, but once I got
    involved, I was completely blown away by the incredible growth that I've been witnessing. Seriously, The proﬁt
    making right now is beyond anything I could have ever imagined. It's just so incredible, it's hard to put into word
    Mar 08, 2024 2:19:02pm


    Orlando Bell

    Oh,I also had a bit of a hiccup with my bank during my last transfer. It was quite a hassle because the amount
    pretty hefty and it was an online transfer. But everything got sorted out eventually.
    Mar 08, 2024 2:18:18pm


    Loni M Harris

    We ﬁnally got it to work. They were canceling bc there was a lot of fraudulent activities going on. When I found
    BlackRock (my former employer)got in the bitcoin space them I knew were in to something. David has been ke
    in the loop. You’re right he is very knowledgeable. Thank you for referring him!

    You’re got in at the right time!
    Mar 02, 2024 10:19:12am


    Orlando Bell

    Oh no, that's not good! I've never come across that situation before. Have you managed to solve it yet? As for
    accent, I'll just wait until I meet him in person this month to ask him about it. I'm really curious to know where he
    that accent from! Haha, it's been on my mind.
    Mar 02, 2024 9:38:11am

    Loni M Harris

    By the way David has a strong African accent. Online shows he’s white though lol.




                                                                                                           HAR0007
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    Feb 29, 2024 7:51:20am

    Loni M Harris

    Well that’s a relief!

    Problem is we can’t transfer more than $10k a day to trade. It’s frustrating! David probably thinks we’re playing
    games. First few times it kept getting cancelled so we tried $10k and that worked but he can’t trade with that
    frustrating!!
    Feb 29, 2024 6:29:06am


    Orlando Bell

    Oh, no way! David? He's deﬁnitely not involved in any scam,lol! he's got a real knack for understanding the ma
    and predicting what's gonna happen in the future. Trust me, he's really good at it. I can't say I'm having the bes
    right now, it's all business purpose
    Feb 29, 2024 1:30:59am


    Loni M Harris

    Appreciate you getting back to me Orlando. I wanted to make sure this wasn’t a scam lol. Hope you’re having f
    traveling. Thanks again for sharing your input and advise! Much appreciated! Safe travels!
    Feb 27, 2024 7:32:08am


    Orlando Bell

    I thought I'd give you my personal email so you can easily reach out to me whenever you need. Here it is
    Orlandobell17@hotmail.com Feel free to drop me a line anytime!
    Feb 27, 2024 6:02:58am


    Orlando Bell



             0:00 / 0:22


    Feb 27, 2024 6:02:43am

    Loni M Harris

    Hey can I call you instead of going back and forth on chat?
    Feb 25, 2024 8:07:18am


    Loni M Harris




                                                                                                         HAR0008
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    I’m feel alittle better knowing you have a relationship with him. Are you meeting with him in Dubai?
    Feb 25, 2024 7:45:29am

    Loni M Harris

    Ok thanks! Im comfortable but I think having a stranger trade can be nerve racking lol. And just like you trust Ju
    trust him because of you. He mentioned he had a software but never mentioned anything about how he traded

    Curious where did you end up buying your home? We’re thinking of moving out of the Bay Area
    Feb 25, 2024 7:41:19am

    Orlando Bell

    Just a piece of advice for you, if you're not comfortable with it, then don't start doing it. In this case, I didn't have
    formal agreement because my friend Justin has been trading with him for years now. I've actually withdrawn m
    money before and I trust him. I'll be meeting up with him on the 10th of next month. He's got this software that
    connects to my account,so he doesn't have access to my account.
    Feb 25, 2024 7:26:47am


    Loni M Harris

    Well it concerns me that I’ve just transferred $ to my account and I’m about to start having a stranger trade usin
    money and his Facebook account disappeared. This makes me nervous

    But we do have his Skype but he never mentioned his FB is gone.

    Also when he started trading for you how did you get started. Was there an agreement you had to sign? And ho
    was he able to trade from your account?
    Feb 25, 2024 6:52:06am


    Orlando Bell

    Yeah. I actually mentioned earlier that he messaged me yesterday about that. Are you having trouble getting in
    with him?
    Feb 25, 2024 6:39:45am

    Orlando Bell

    You're welcome! Apparently he's been at it for quite a while now. Business is actually doing pretty well! I've got
    amazing team of hardworking folks who have been giving it their all. Things are going super smoothly.
      Loni M Harris
    Feb 25, 2024 6:39:17am

    Loni M Harris

    Hey Orlando. It looks like David proﬁle no longer exist. Did he tell you that?



                                                                                                               HAR0009
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    Feb 24, 2024 9:11:22pm

    Loni M Harris

    Oh gotcha! Thanks for the info! We spoke to him on Skype. Seems like he’s been doing this while.

    On another note, how are you doing? How’s the insurance business?
    Feb 24, 2024 11:46:00am

    Orlando Bell

    So I had to call him today on Skype for conﬁrmation
    Feb 24, 2024 11:29:39am

    Orlando Bell

    No it was this morning he sent me the message on Skype, because we communicated last night on facebook b
    going to bed.
    Feb 24, 2024 11:29:17am


    Loni M Harris

    Did he get hacked?!
    Feb 24, 2024 11:25:10am


    Loni M Harris

    We communicate with him yesterday. Seems to be ok then. Was this message yesterday? This is concerning
    Feb 24, 2024 11:22:29am


    Orlando Bell

    I woke up to a message from him on Skype! Apparently, he's having a bit of trouble accessing his Facebook ac
    He asked me to do him a favor and not pay any attention to any messages from there for the time being. Have
    managed to reach out to him?
    Feb 24, 2024 11:04:25am

    Orlando Bell

    Hey, sorry for the delayed response! I've been swamped lately. Yes it’s very exiting and you'll get to experience
    yourself! If he happens to mention that the market isn't doing so well, I'd recommend steering clear. But if he sa
    market is looking great, then go ahead and go with his advice. Trust me, it's gonna be awesome!
    Feb 24, 2024 11:03:25am




                                                                                                         HAR0010
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    Loni M Harris

    did this all happen since Sept?
    Feb 22, 2024 3:05:51pm

    Loni M Harris

    That sounds exiting! Thank you for sharing
    Feb 22, 2024 3:05:32pm

    Orlando Bell

    When he’s less busy he will deﬁnitely get back to you. My ﬁrst trading experience was quite exciting! I began w
    bitcoin, valued at 29k at that time. Whenever he mentioned that the market was favorable, I added more funds
    initial deposit. Eventually, I made my ﬁrst withdrawal, which was such a thrilling moment for me! As for my curre
    trades, I've decided to start with larger amounts.
    Feb 22, 2024 2:11:06pm


    Loni M Harris

    Well I know you would invest with just anyone so I trust you made the absolute right decision. And that’s what g
    attention. We asked to set up a call but he must be very busy. Thinking of starting with 1 coin. Is that how you
    started?
    Feb 22, 2024 1:39:44pm


    Orlando Bell

    It's awesome to mix things up with your money. Not putting all your eggs in one basket, But seriously, I've neve
    come across anything quite like this before. It's pretty mind-blowing,
    Feb 22, 2024 1:36:53pm

    Loni M Harris

    We’ve been focused on Real Estate but want to diversify
    Feb 21, 2024 3:16:34pm

    Loni M Harris

    That’s what he said! I guess last experience made me nervous lol
    Feb 21, 2024 3:16:08pm

    Orlando Bell




                                                                                                        HAR0011
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    Yes lol just try him you will see it yourself
    Feb 21, 2024 2:51:33pm

    Loni M Harris

    Thank you for that info. So you’d say David is pretty legit lol
    Feb 21, 2024 2:32:47pm


    Orlando Bell

    It was my friend Justin that introduced him to me and Justin have been wining for quite some time now
    Feb 21, 2024 2:17:28pm


    Loni M Harris

    Btw the the way where did you end up buying? I’m so happy for you and your accomplishments!
    Feb 21, 2024 7:52:11am


    Loni M Harris

    Thanks for getting back to me. I’ve contacted David as well. I just had a bad experience when I invested in Bitc
    yrs ago so I’m a little nervous. How did you meet him?
    Feb 21, 2024 7:51:19am


    Orlando Bell

    I'm not sure if there's a referral bonus, but I can check with my friend Justin to see if he received one when I
    withdrew my money. If he did, then I'm deﬁnitely going to be making some extra cash because three of my frien
    have already started investing with him. Hahaha
    Feb 21, 2024 7:20:58am

    Loni M Harris

    Hey Orlando. Congratulations on your new home! Are you getting a commission whenever you refer someone
    David?
    Feb 20, 2024 5:09:46pm




                                                                                                       HAR0012
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Attachment B - Real Orlando Bell Facebook Messages
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           Orlando Bell
           Generated by Loni M Harris on Thursday, June 6, 2024 at 12:20 PM UTC-07:00
           Contains data you requested from June 6, 2023 at 6:22 AM to June 5, 2024 at 12:11 PM


    Orlando Bell

    It is not. Orlandowbell@gmail.com
        Loni M Harris
    May 22, 2024 1:52:57pm


    Loni M Harris

    Sorry one more question. Is this your email address: Orlandobell17@hotmail.com
    May 22, 2024 1:41:56pm


    Loni M Harris

    ok thanks!
    May 22, 2024 1:31:37pm


    Orlando Bell

    I do not know them
    May 22, 2024 1:31:29pm

    Loni M Harris

    One more question, So you do know anyone by the name of Justin Mcknight and David Shamlian?
    May 22, 2024 1:30:50pm

    Loni M Harris

    ok thanks
    May 22, 2024 1:24:39pm


    Orlando Bell

    No I do not. My FB was hacked. I had to open another one.
    May 22, 2024 1:24:27pm

    Loni M Harris



                                                                                                  HAR0013
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    There was a post that said you bought a house using Crypto
    May 22, 2024 1:22:43pm

    Loni M Harris

    Did you ever invest in crypto ?
    May 22, 2024 1:22:21pm


    Orlando Bell

    What’s your question?
    May 22, 2024 1:21:48pm


    Orlando Bell

    Hi Loni, I will check the email
    May 22, 2024 1:21:40pm


    Orlando Bell

    You can now message and call each other and see info like Active Status and when you've read messages.
    May 22, 2024 1:21:19pm


    Loni M Harris

    HI Orlando. I sent you an email. But I have a quick question for you.
    May 22, 2024 1:12:31pm




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